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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

    In re

    CUSTOMS AND TAX ADMINISTRATION
    OF THE KINGDOM OF DENMARK                                  MASTER DOCKET
    (SKATTEFORVALTNINGEN) TAX
    REFUND SCHEME LITIGATION                                    18-md-2865 (LAK)
    This document relates to:   18-cv-097971
                                18-cv-10100



                         DECLARATION OF JOHN C. BLESSINGTON

            I, JOHN C. BLESSINGTON, declare as follows:

            1.    I am a partner with the firm K&L Gates LLP and am counsel for Third-Party

Plaintiffs and Defendants-in-Counterclaim DW Construction, Inc. Retirement Plan, Kamco

Investments, Inc. Pension Plan, Kamco LP Profit Sharing Pension Plan, Linden Associates

Defined Benefit Plan, Moira Associates 401(K) LLC Plan, Riverside Associates Defined Benefit

Plan, American Investment Group of New York, L.P. Pension Plan (the “Utah Plans”), and

Newsong Fellowship Church 401(k) Plan (the “Newsong Plan”) (collectively, “the Plans,” and

each a “Plan”) in the above-captioned action (18-md-2865) and the related civil actions (18-cv-

09797 and 18-cv-10100).


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  SKAT’s actions first filed in Utah federal court were consolidated and then transferred to this
Court. The above-captioned related action, 18-cv-09797, comprises the following actions: SKAT
v. DW Construction, Inc. Retirement Plan, 18-cv-09797 (S.D.N.Y.); SKAT v. Kamco Investments
Inc. Pension Plan, 18-cv-09836 (S.D.N.Y.); SKAT v. Kamco LP Profit Sharing Pension Plan, 18-
cv-09837 (S.D.N.Y.); SKAT v. Linden Associates Defined Benefit Plan, 18-cv-09838 (S.D.N.Y.);
SKAT v. Moira Associates LLC 401K Plan, 18-cv-09839 (S.D.N.Y.); SKAT v. Riverside Associates
Defined Benefit Plan, 18-cv-09840 (S.D.N.Y.); and SKAT v. American Investment Group of New
York, L.P. Pension Plan, 18-cv-09841 (S.D.N.Y.).
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       2.       I have personal knowledge of the matters stated herein.

       3.       Attached hereto as Exhibit 1 is a true and correct copy of ED&F Man Capital

Markets Ltd.’s (“ED&F”) answer and counterclaims against the Utah Plans [Doc. No. 281 in civil

action 18-md-02865, related action 18-cv-09797].

       4.       Attached hereto as Exhibit 2 is a true and correct copy of ED&F’s answer and

counterclaims against the Newsong Plan [Doc. No. 282 in civil action 18-md-02865, related action

18-cv-10100].

       5.       Attached hereto as Exhibit 3 is a true and correct copy of the Utah Defendants’

Amended Third-Party Complaint against ED&F [Doc. No. 226 in civil action 18-md-02865,

related action 18-cv-09797].

       6.       Attached hereto as Exhibit 4 is a true and correct copy of the Newsong Defendants’

Amended Third-Party Complaint against ED&F [Doc. No. 225 in civil action 18-md-02865,

related action 18-cv-10100].

       7.       Attached hereto as Exhibit 5 is a true and correct copy of the relevant portions of

SKAT’s Re-Re-Amended Particulars of Claim and SKAT’s Schedule 5T containing its allegations

against ED&F, filed in the High Court of Justice, Business and Property Courts of England and

Wales, Commercial Court [claim numbers CL-2018-000297, CL-2018-000404, and CL-2018-

000590].

       8.       Attached hereto as Exhibit 6 is a true and correct copy of ED&F’s Amended

Defence filed in the High Court of Justice, Business and Property Courts of England and Wales,

Commercial Court [claim numbers CL-2018-000297, CL-2018-000404, and CL-2018-000590].




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        9.     Attached hereto as Exhibit 7 is a true and correct copy of SKAT’s Opposition to

Third-Party Defendant [ED&F’s] Motion for a Protective Order [Doc. No. 213-1 in civil action

18-md-02865].

        10.    Attached hereto as Exhibit 8 is a true and correct copy of SKAT’s Further

Particulars Regarding the Validity of WHT Refund Applications filed in the High Court of Justice,

Business and Property Courts of England and Wales, Commercial Court [claim numbers CL-2018-

000297, CL-2018-000404, and CL-2018-000590].

        11.    Attached hereto as Exhibit 9 is a true and correct copy of SKAT’s Complaint filed

in the United States District Court for the District of Utah [Doc. No. 2 in related action 18-cv-

09797] against DW Construction, Inc. Retirement Plan.

        12.    Attached hereto as Exhibit 10 is a true and accurate copy of Egan v. Marsh &

McLennan Cos., No. 07 Civ. 7134, 2008 WL 245511 (S.D.N.Y. Jan. 30, 2008).

        13.    Attached hereto as Exhibit 11 is a true and accurate copy of Canada Steamship

Lines Ltd v The King [1952] UKPC 1

        14.    Attached hereto as Exhibit 12 is a true and accurate copy of Wood v Capita

Insurance Services Ltd [2017] UKSC 24.

        15.    Attached hereto as Exhibit 13 is a true and accurate copy of EE Caledonia Ltd

(formerly Occidental Petroleum (Caledonia) Ltd) v Orbit Valve Co Europe Plc [1994] 1 W.L.R.

1515.

        I, JOHN C. BLESSINGTON, hereby declare under penalty of perjury that the foregoing is

true and correct.

Dated: March 30, 2020

                                                            /s/ John C. Blessington
                                                           John C. Blessington



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